537 U.S. 1191
    THREE O REALTY LLCv.NEW YORK STATE URBAN DEVELOPMENT CORPORATION, DBA EMPIRE STATE DEVELOPMENT CORPORATION, ET AL.;
    No. 02-909.
    Supreme Court of United States.
    February 24, 2003.
    
      1
      CERTIORARI TO THE APPELLATE DIVISION, SUPREME COURT OF NEW YORK, FIRST JUDICIAL DEPARTMENT.
    
    
      2
      App. Div., Sup. Ct. N.Y., 1st Jud. Dept. Certiorari denied. Reported below: 298 App. Div. 2d 1, 744 N. Y. S. 2d 121.
    
    